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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    No. 4:11CR00156-07 JLH

JUANA PATRICIA BAMAC-PEREZ

                                               JUDGMENT

        Pursuant to the Opinion and Order entered separately today, the motion of Juana Patricia

Bamac-Perez to vacate, set aside, or correct her sentence under 28 U.S.C. § 2255 is denied. No

certificate of appealability will be issued.

        IT IS SO ORDERED this 26th day of July, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
